                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

In re: EDWARD P. DEETS and,                           :       Chapter 7
       ELIZABETH L. DEETS,                            :       Case No: 5:11-bk-06868-RNO
            Debtors,                                  :


MICHAEL G. OLEYAR, CHAPTER 7 TRUSTEE                  :
for EDWARD P. DEETS and ELIZABETH L. DEETS,           :
             Plaintiff,                               :
       vs.                                            :       Complaint for Turnover & Sale
EDWARD P. DEETS, ELIZABETH L. DEETS,                  :       Sale Free & Clear Of Liens
PENNSYLVANIA DEPARTMENT OF REVENUE,                   :
UNITED STATES OF AMERICA INTERNAL                     :       Adversary Proceeding
REVENUE SERVICE, DONNA COURREGE,                      :       No. 5:14-ap-00239-RNO
PETER COURREGE, DARLENE LOKKEN,                       :
CORBY BARRY LOKKEN, DEBRA LYSIAK,                     :
DAVID LYSIAK, DIANE DEETS,                            :
PENNSYLVANIA DEPARTMENT OF                            :
TRANSPORTATION, SCOTT SNYDER,                         :
US TRUCK & PARTS, INC., SCOTT CARROLL,                :
JOHN D. WORMAN, JULIA VENCAK,                         :
MARVIN CAREY USED CARS,                               :
MOUNTAINEER ENTERPRISES, INC.,                        :
NORTH EAST EXPRESS, INC.,                             :
RAYMOND F. DUNKLE, JR., NICHOLAS BARBRIE,             :
ESTATE OF FRANCIS CORNELL,                            :
ESTATE OF JOSEPH KOVIAK,                              :
DAVID SMITH and CANDACE SMITH,                        :
             Defendants.                              :


     AFFIDAVIT OF DEFAULT: PENNSYLVANIA DEPARTMENT OF REVENUE

       I, J. Zac Christman, Esquire, the Attorney for Plaintiff MICHAEL G. OLEYAR,

CHAPTER 7 TRUSTEE for EDWARD P. DEETS and ELIZABETH L. DEETS hereby swear

and affirm, under penalty of perjury, that the following is true and correct:


       1.      Debtors EDWARD P. DEETS and ELIZABETH L. DEETS filed the above-

captioned Bankruptcy Case on October 6, 2011.




Case 5:14-ap-00239-RNO          Doc 36 Filed 06/26/15 Entered 06/26/15 19:56:00               Desc
                                Main Document    Page 1 of 3
        2.     The above-captioned Bankruptcy Case was converted to Chapter 7 on June 1,

2012.

        3      The Complaint in the above-captioned adversary proceeding was filed on October

23, 2014.

        4.     A summons was issued on October 24, 2014, that required responses to the

Complaint be filed no later than November 28, 2014.

        5.     The summons was duly served on the Pennsylvania Department of Revenue on

October 30, 2014, via first class mail to

               a.      Officer, Managing or General Agent, or Agent Authorized to Receive

Service of Process, PENNSYLVANIA DEPARTMENT OF REVENUE, Dep’t 280946, Attn:

Bankruptcy Division, Harrisburg, PA 17128-0946; and

               b.      Steven C Gould, Esquire, Office of Attorney General; 15th Floor,

Strawberry Square; Harrisburg, PA 17120.

        6.     Based on non-receipt of any response and a review of the docket the

PENNSYLVANIA DEPARTMENT OF REVENUE did not file a response to the Complaint.

        7.     I have taken reasonable steps to ascertain that the PENNSYLVANIA DEPARTMENT

OF REVENUE is not in military service and determined that the PENNSYLVANIA DEPARTMENT OF

REVENUE is not in military service based upon: the status of the PENNSYLVANIA DEPARTMENT

OF REVENUE as a division of the Commonwealth of Pennsylvania and conversations with an

Assistant Attorney General who generally represents the PENNSYLVANIA DEPARTMENT OF

REVENUE in bankruptcy matters.




Case 5:14-ap-00239-RNO          Doc 36 Filed 06/26/15 Entered 06/26/15 19:56:00             Desc
                                Main Document    Page 2 of 3
       WHEREFORE, MICHAEL G. OLEYAR, CHAPTER 7 TRUSTEE for EDWARD P. DEETS and

ELIZABETH L. DEETS, prays this Honorable Court for entry of default against the PENNSYLVANIA

DEPARTMENT OF REVENUE and for such other and further relief as the Honorable Court deems

just and appropriate.


                                   NEWMAN, WILLIAMS, MISHKIN,
                                   CORVELEYN, WOLFE & FARERI, P.C.

                            By:    /s/ J. Zac Christman_________________
                                   J. ZAC CHRISTMAN, ESQUIRE
                                   Attorney for Trustee
                                   PO Box 511, 712 Monroe Street
                                   Stroudsburg, PA 18360
                                   (570) 421-9090; fax (570) 424-9739
                                   jchristman@newmanwilliams.com




Case 5:14-ap-00239-RNO       Doc 36 Filed 06/26/15 Entered 06/26/15 19:56:00           Desc
                             Main Document    Page 3 of 3
